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Return

 

Case No: FOAR-OcY 2ot}-pat-F! 3-0Zy|| Date and time warrant served on provider:
2: 18° AT- 126] S/21[/B 21 2F-pm

 

 

Inventory made in the presence of: S. AA Sdey Hate
C-

 

Inventory of data seized:

[Please Bownloat of the information produced. ] Size Docvment Ty pt
[G6 FY /. 29/805 24-1, Grp S.59K Prodvetto n

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Uc tren GbAPAl: pal HIB. 95K Covrespond'tnce

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LERS on 5 [30/I€.

 

Certification

 

 

I declare under penalty of perjury that I am an officer involved in the execution of this warrant, and that this
inventory is correct and was returned along with the original warrant to the designated judge through a filing
with the Clerk’s Office.

Date: Al [i¥ Sot Lat

Executing offi icer’s signature

Sttve HattH Specs al Agent

Printed name and title

 

 

 
